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                      UNITED STATES COURT OF APPEALS
                                 FOR THE
                              SECOND CIRCUIT

       At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
16th day of November, two thousand twenty-three.

________________________________

 Jason Goodman,
                                                                     ORDER
      Plaintiff-Counter-Defendant -Appellee-Cross-Appellant,
                                                                     Docket Nos. 23-874 (L),
 v.                                                                  23-1021(CON), 23-1100(XAP)

 David George Sweigert,

      Defendant-Counter-Claimant-Appellant-Cross-Appellee,

 Christopher Ellis Bouzy, Bot Sentiel, Inc., George Webb
 Sweigert, Benjamin Wittes, Adam Sharp, Nina Jankowicz,
 Margaret Esquenet, The Academy of Television Arts & Sciences,
 Seth Berlin, Maxwell Mishkin,

    Defendants-Appellees.
________________________________

       Appellee-Cross-Appellant Jason Goodman moves for leave to file a late stay status
update letter.

        IT IS HEREBY ORDERED that the motion is DENIED as unnecessary. Pursuant to the
Court’s November 9, 2023 notice, the parties must inform the Court in writing of the status of
the pending motions in the district court in 30-day intervals and within 14 days after final
disposition of the last outstanding motion. The next update letter is due December 12, 2023.

                                                    For the Court:
                                                    Catherine O’Hagan Wolfe,
                                                    Clerk of Court
